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 5
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 6 United States of America

 7
                                    IN THE UNITED STATES DISTRICT COURT
 8
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-00412 TLN
11
                                      Plaintiff,          AMENDED STIPULATION AND ORDER TO
12                                                        CONTINUE JUDGMENT AND SENTECING
                              v.                          HEARING
13
     MARIO LOPEZ-AYALA,
14
                                      Defendant.
15

16
                                                   STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant Mario
18
     Lopez-Ayala, by and through his counsel of record, hereby stipulate as follows:
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            1.       By previous order, this matter was set for a judgment and sentencing hearing on
20
     December 4, 2014.
21
            2.       By this stipulation, the parties jointly move the Court to continue the judgment and
22
     sentencing hearing to March 26, 2015, at 9:30 a.m.
23
            3.       Because the defendant stands convicted of possession with intent to distribute
24
     methamphetamine in violation of Title 21, United States Code § 841(a)(1), the provisions of the Speedy
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     Trial Act, 18 U.S.C. § 3161, et seq., do not apply to this stipulation and the continuance of the date for
26
     judgment and sentencing.
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     Stipulation for Continuance of Judgment and          1
     Sentencing
               Case 2:13-cr-00412-TLN Document 47 Filed 11/25/14 Page 2 of 2


 1          IT IS SO STIPULATED.

 2 DATED: November 25, 2014                              BENJAMIN B. WAGNER
                                                         United States Attorney
 3
                                                         /s/ Todd A. Pickles
 4                                                       TODD A. PICKLES
                                                         Assistant United States Attorney
 5
                                                         For the UNITED STATES OF AMERICA
 6

 7
     DATED: November 25, 2014                            /s/ Todd A. Pickles for
 8                                                       KATHERINE LOTHROP, ESQ.

 9                                                       For defendant MARIO LOPEZ-AYALA

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11
                                                   ORDER
12
            For the reasons set forth in the parties’ stipulation and for good cause showing, the Court hereby
13
     ADOPTS the parties’ stipulation and orders that the judgment and sentencing hearing in this matter be
14
     continued to March 26, 2015 at 9:30 a.m. The dates for submission of all informal and formal
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     objections and sentencing memoranda shall be reset based on the new hearing date.
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            IT IS SO ORDERED this 25th day of November, 2014.
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                                                                  Troy L. Nunley
20                                                                United States District Judge
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     Stipulation for Continuance of Judgment and         2
     Sentencing
